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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW HAMPSHIRE


 In re:                                                        CHAPTER 11

 FRED FULLER OIL & PROPANE CO., INC.,                          Case No. 14-12188-JMD

          Debtor


                                     NOTICE OF HEARING

          Please be advised that a hearing will be held in Courtroom 2, United States Bankruptcy

 Court for the District of New Hampshire, 1000 Elm Street, 11th Floor, Manchester NH 03103, on

 April 21, 2015 at 2:00 p.m. (the “Hearing”), at which the Court will consider the:

          APPLICATION FOR EMPLOYMENT AND RETENTION OF 401(K) AUDITOR
          (the “Application”).

          Any and all objections to the Application must be filed with the Court and served upon

 the undersigned on or before April 14, 2015 (the “Objection Date”). If no objection to the

 Application is filed on or before the objection date, or if any such objections are resolved in

 favor of the Debtor, the Court may grant the relief sought in the pleading without further notice

 or hearing.

                                               Respectfully submitted,
 DATED: March 13, 2015                         /s/ William S. Gannon
                                               William S. Gannon, BNH 01222

                                               Counsel to:
                                               FRED FULLER OIL & PROPANE CO., INC.

                                               WILLIAM S. GANNON, PLLC
                                               889 Elm Street, 4th Floor
                                               Manchester, NH 03101
                                               PH: (603) 621-0833

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date I served the foregoing pleading on each person named
 below by causing it to be filed electronically via the CM/ECF filing system or mailed by first-
 class United States Mail, postage pre-paid, or in such other manner as may be indicated:

        All Persons on the attached Service List.

 DATED: March 13, 2015                                  /s/ Beth E. Venuti
                                                        Beth E. Venuti




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                              APPEARANCES SERVICE LIST
          In Re: Fred Fuller Oil & Propane Co., Inc., Chapter 11, Case No. 14-12188

 Holly Barcroft – electronically via CM/ECF
 Christopher M. Candon – electronically via CM/ECF
 Eleanor Wm Dahar – electronically via CM/ECF
 Leonard G. Deming, II – electronically via CM/ECF
 Steven J. Dutton – electronically via CM/ECF
 Lawrence M. Edelman – electronically via CM/ECF
 Jeremy R. Fischer – electronically via CM/ECF
 Edmond J. Ford – electronically via CM/ECF
 Jay L. Hodes – electronically via CM/ECF
 Leslie H. Johnson – electronically via CM/ECF
 Geraldine Karonis – electronically via CM/ECF
 James S. LaMontagne – electronically via CM/ECF
 Benjamin E. Marcus – electronically via CM/ECF
 Michael T. McCormack – electronically via CM/ECF
 Richard K. McPartlin – electronically via CM/ECF
 Office of the U.S. Trustee – electronically via CM/ECF
 Edward D. Philpot, Jr. – electronically via CM/ECF
 Peter C.L. Roth – electronically via CM/ECF
 Daniel W. Sklar – electronically via CM/ECF
 Frank P. Spinella, Jr. – electronically via CM/ECF

 Daren R. Brinkman on behalf of Creditor Committee
  J.A. Marino Automatic Heating Supply Co., Inc.
 Brinkman Portillo Ronk APC
 4333 Park Terrace Drive, Suite 205
 Westlake Village, CA 91359

 CBIZ, Inc. – via email
 JVarsalone@CBIZ.com

 Normand Pinard
 87 Riverview Park Road
 Manchester, NH 03102




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